     Case 1:03-md-01570-GBD-SN Document 361-2 Filed 07/30/04 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

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                                                )
IN RE TERRORIST ATTACKS ON SEPTEMBER 11, 2001   )                   03 MDL No. 1570 (RCC)
________________________________________________)                   ECF Case


This document relates to:

C.A. No. 03-CV-9849 (RCC)
THOMAS E. BURNETT, SR., et al. v. AL BARAKA INVESTMENT & DEVELOPMENT CORP., et al.


                      DECLARATION OF ALAN R. KABAT
             IN SUPPORT OF DEFENDANT MOHAMED ALI MUSHAYT’S
             MOTION TO DISMISS THE THIRD AMENDED COMPLAINT

       I am an attorney licensed to practice in the District of Columbia and am admitted pro hac

vice in this matter. I am with the law firm of Bernabei & Katz PLLC, counsel to Mohamed Ali

Mushayt. I submit this declaration to transmit to the Court the following documents submitted in

support of Mr. Mushayt’s motion to dismiss (April 9, 2004) and his reply brief submitted in

support of his motion to dismiss (July 30, 2004):

       1.      Exhibit 1 to Mr. Mushayt’s motion to dismiss is a copy of the Declaration of

Mohamed Ali Mushayt (March 31, 2004), and authenticated translation, with the Declaration of

Bassim Alim (April 4, 2004) thereto.

       2.      Exhibit 2 to Mr. Mushayt’s motion to dismiss is a copy of P. Mendenhall,

“Seeking bin Laden in the Classifieds,” MSNBC, online at http://www.msnbc.msn.com/id

/3340393 (Oct. 24, 2003).

       3.      Exhibit 1 to Mr. Mushayt’s reply brief is a copy of excerpts of the transcript of

the Motions Hearing held on June 24, 2003, before Judge Robertson, in Burnett, et al. v. Al

Baraka Invest. & Devel. Corp., et al., No. 02-CV-1616 (JR) (D.D.C.).
    Case 1:03-md-01570-GBD-SN Document 361-2 Filed 07/30/04 Page 2 of 2




       I declare under the penalties of perjury that the foregoing is true and correct to the best of

my knowledge and belief. Executed on July 30, 2004.




                                              /s/ Alan R. Kabat
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                                              ALAN R. KABAT




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